                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF LOUISIANA
                                               SHREVEPORT DIVISION
IN RE: Leonard Morris Sharp                                                                        Case No.: 18-10442
       Catherine Ebarb Sharp
        DEBTORS                                                                                    JEFFREY P. NORMAN

                                                           341(a) MINUTES

                                                                5/1/2018


DEBTOR INFORMATION

Leonard Morris Sharp
Catherine Ebarb Sharp
2530 Turtle Beach Road
Many, LA 71449
Debtor SSN: XXX-XX-3088                                      Joint Debtor SSN: XXX-XX-4362

MEETING INFORMATION

MEETING DATE: 04/30/2018               TIME: 1:00 pm        TRACK NUMBER:            33          MEETING CONCLUDED:     NO

DEBTOR:                  Absent

JOINT DEBTOR:            Present and Examined Under Oath
MEETING CONTINUED TO: 05/14/2018 at 3:00 pm

APPEARANCES

PRESIDING OFFICER FOR CHAPTER 13 TRUSTEE:                  Todd S. Johns

ATTORNEY EDDIE HARRINGTON PRESENT


NOTES
4/30 DEBTOR 1 ABSENT X1 // CONTINUED TO 5/14/18 @ 3pm FOR DEBTOR 1 ONLY.


                                                                                          /S/ Todd S. Johns




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